           Case 2:08-cr-00376-WBS-AC Document 612 Filed 05/28/15 Page 1 of 2


     Timothy E. Warriner (SB#166128)
 1   Attorney at Law
     428 J St., Suite 350
 2   Sacramento, CA 95814
     (916) 443-7141
 3
     Attorney for Defendant,
 4   Leonard Williams
 5
                                  UNITED STATES DISTRICT COURT
 6
                           FOR THE EASTERN DISTSRICT OF CALIFORNIA
 7

 8                                                    )   No. 2:08-cr-00376-06 WBS GGH
     UNITED STATES OF AMERICA,                        )
 9                                                    )   STIPULATION AND [PROPOSED] ORDER
                     Plaintiff,                       )   FOR TRANSCRIPT OF IN CAMERA
10                                                    )   PROCEEDINGS
            vs.                                       )
11                                                    )
     LEONARD WILLIAMS,                                )
12                                                    )
                     Defendant                        )
13
            On February 11, 2013, the court heard defendant Williams’ motion to relieve counsel.
14

15
     The hearing was conducted in camera.

16          On July 21, 2014, the court heard another request by defendant Williams’ to relieve his

17   counsel. This hearing was also conducted in camera.
18          Defense counsel requests that the court order that the above in camera proceedings be
19
     transcribed and provided to defense counsel, who is investigating possible appellate issues. In the
20
     event defense counsel references, in appellant’s opening brief, any part of either the February 11,
21
     2013 or July 21, 2014 in camera proceedings, the parties agree and stipulate that without the
22
     need for additional court order the court reporter can then provide the transcript to the Assistant
23

24   United States Attorney.

25   DATED: May 14, 2015                                   /s/ Timothy E. Warriner, Attorney for
                                                           Defendant, Leonard Williams
26

                                                      1
           Case 2:08-cr-00376-WBS-AC Document 612 Filed 05/28/15 Page 2 of 2



 1
     DATED: May 14, 2015                                   /s/ Christopher S. Hales, Assistant U.S.
 2
                                                           Attorney

 3
                                                      ORDER
 4
            Since the issues addressed at the in camera discussions will be the subject of the appeal,
 5
     the United States Attorney should have access to the transcript even if the contents of it are not
 6

 7   expressly referenced in appellant’s opening brief. Accordingly, IT IS HEREBY ORDERED that

 8   the above in camera proceedings be transcribed and provided to both defense counsel and

 9   the United States Attorney.
10
     Dated: May 28, 2015
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

                                                      2
